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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No.: 1:21-CR-00552 DLF-1
               v.                             :
                                              :
Kenneth Joseph Owen Thomas                    :
                                              :
                                              :
                       Defendants.            :

       GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
          COUNT TWO OF THE SECOND SUPERSEDING INDICTMENT

       The United States of America respectfully submits this omnibus response in opposition to

the defendant’s Motion to Dismiss Count Two of the Superseding Indictment. ECF No. 40. This

motion rests on an argument that courts in this district have, with only one exception, unanimously

rejected. The Defendant’s motion offers no new arguments or authorities and should likewise be

denied for the reasons explained herein.

                               PROCEDURAL BACKGROUND

       This case arises from the January 6, 2021 attack on the United States Capitol. On

December 14, 2022, a federal grand jury in the District of Columbia returned a 12-count

indictment, the Second Superseding Indictment in the above-captioned case, charging the

defendant with Obstruction of Law Enforcement During a Civil Disorder and Aiding and Abetting,

in violation of 18 U.S.C. §§ 231(a)(3) (Count 1); and Obstruction of an Official Proceeding and

Aiding and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count 2); five felony counts

related to Assaulting, Resisting, or Impeding Certain Officers in violation of 18 U.S.C.

§§ 111(a)(1) (Counts 3, 4, 5, 6, and 7); three counts relating to disorderly conduct and violence in

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a restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(1), (2), and (4) (Counts 8, 9,

and 10); and, two misdemeanor counts relating to disorderly conduct and violence in a Capitol

building or grounds, in violation of 40 U.S.C. § 5104(e)(2)(D) and (F). ECF No. 49.

       Defendant now moves to dismiss Count Two of the Second Superseding Indictment.

ECF No. 40. The defendant contends that the indictment fails to state an offense and allege

sufficient facts. Fed. R. Crim. P. 12(b)(3)(B) and Fed. R. Crim. P. 7(c)(1).

                                      LEGAL STANDARD

       An indictment is sufficient under the Constitution and Rule 7 of the Federal Rules of

Criminal Procedure if it “contains the elements of the offense charged and fairly informs a

defendant of the charge against which he must defend,” Hamling v. United States, 418 U.S. 87,

117 (1974), which may be accomplished, as it is here, by “echo[ing] the operative statutory text

while also specifying the time and place of the offense.” United States v. Williamson, 903 F.3d

124, 130 (D.C. Cir. 2018). “[T]he validity of an indictment ‘is not a question of whether it could

have been more definite and certain.’” United States v. Verrusio, 762 F.3d 1, 13 (D.C. Cir. 2014)

(quoting United States v. Debrow, 346 U.S. 374, 378 (1953)). And an indictment need not inform

a defendant “as to every means by which the prosecution hopes to prove that the crime was

committed.” United States v. Haldeman, 559 F.2d 31, 124 (D.C. Cir. 1976).

       Rule 12 permits a party to raise in a pretrial motion “any defense, objection, or request that

the court can determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(1) (emphasis added).

It follows that Rule 12 “does not explicitly authorize the pretrial dismissal of an indictment on

sufficiency-of-the-evidence grounds” unless the government “has made a full proffer of evidence”

or the parties have agreed to a “stipulated record,” United States v. Yakou, 428 F.3d 241, 246-47

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(D.C. Cir. 2005) (emphasis added)—neither of which has occurred here.

       Indeed, “[i]f contested facts surrounding the commission of the offense would be of any

assistance in determining the validity of the motion, Rule 12 doesn’t authorize its disposition

before trial.” United States v. Pope, 613 F.3d 1255, 1259 (10th Cir. 2010) (Gorsuch, J.). Criminal

cases have no mechanism equivalent to the civil rule for summary judgment. United States v.

Bailey, 444 U.S. 394, 413, n.9 (1980) (motions for summary judgment are creatures of civil, not

criminal trials); Yakou, 428 F.2d at 246-47 (“There is no federal criminal procedural mechanism

that resembles a motion for summary judgment in the civil context”); United States v. Oseguera

Gonzalez, No. 20-cr-40-BAH at *5, 2020 WL 6342940 (D.D.C. Oct. 29, 2020) (collecting cases

explaining that there is no summary judgment procedure in criminal cases or one that permits

pretrial determination of the sufficiency of the evidence). Accordingly, dismissal of a charge does

not depend on forecasts of what the government can prove. Instead, a criminal defendant may

move for dismissal based on a defect in the indictment, such as a failure to state an offense. United

States v. Knowles, 197 F. Supp. 3d 143, 148 (D.D.C. 2016). Whether an indictment fails to state

an offense because an essential element is absent calls for a legal determination.

       Thus, when ruling on a motion to dismiss for failure to state an offense, a district court is

limited to reviewing the face of the indictment and more specifically, the language used to charge

the crimes. Bingert, 21-cr-93 (RCL) (ECF 67:5) (a motion to dismiss challenges the adequacy of

an indictment on its face and the relevant inquiry is whether its allegations permit a jury to find

that the crimes charged were committed); McHugh, 2022 WL 1302880 at *2 (a motion to dismiss

involves the Court’s determination of the legal sufficiency of the indictment, not the sufficiency

of the evidence); United States v. Puma, No. 21-cr-454 (PLF), 2020 WL 823079 at *4 (D.D.C.

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Mar. 19, 2022) (quoting United States v. Sunia, 643 F.Supp. 2d 51, 60 (D.D.C. 2009)).

                                          ARGUMENT

       The defendant has moved to dismiss Count Two, which charges him with obstruction of

an official proceeding. ECF No. 40. He incorrectly contends that his conduct is not sufficient to

establish a violation of Section 1512(c)(2), an argument that nearly every judge in this District has

rejected, including this Court. See, e.g., United States v. Sandlin, 575 F.Supp.3d 16 (D.D.C. 2021)

(Friedrich, J.); United States v. Fitzsimons, 21-cr-158,---F.Supp.3d---, 2022 WL 1698063, at *6-

*12 (D.D.C. May 26, 2022) (Contreras, J.); United States v. Bingert, 21-cr-91, ---F.Supp.3d ---,

2022 WL 1659163, at *7-*11 (D.D.C. May 25, 2022) (Lamberth, J.); United States v. Hale-

Cusanelli, No. 21-cr-37 (D.D.C. May 6, 2022) (McFadden, J.) (motion to dismiss hearing at pp.

4-8); United States v. McHugh (McHugh II), No. 21-cr-453, 2022 WL 1302880, at *2-*13 (D.D.C.

May 2, 2022) (Bates, J.); United States v. Puma, 21-cr-454, ---F.Supp.3d---, 2022 WL 823079, at

*12 n.4 (D.D.C. Mar. 19, 2022) (Friedman, J.); United States v. Bozell, 21-cr-216, 2022 WL

474144, at *5 (D.D.C. Feb. 16, 2022) (Bates, J.); United States v. Grider, 585 F.Supp.3d 21

(D.D.C. 2022) (Kollar-Kotelly, J.); United States v. Nordean, 579 F.Supp.3d 28 (D.D.C. 2021)

(D.D.C. 2021) (Kelly, J.); United States v. Montgomery, 578 F.Supp.3d 54, (D.D.C. 2021) (Moss,

J.); United States v. Mostofsky, 579 F.Supp.3d 9 (D.D.C. 2021) (Boasberg, J.); United States v.

Caldwell, 581 F.Supp.3d 1 (D.D.C. 2021) (Mehta, J.).

  I.   The Defendant’s Motion to Dismiss Count Two of the Second Superseding Indictment
       Lacks Merit.

       Count Two of the Second Superseding Indictment charges the defendant with corruptly

obstructing, influencing, or impeding an “official proceeding,”– i.e., Congress’s certification of

the Electoral College vote on January 6, 2021 – in violation of 18 U.S.C. § 1512(c)(2). Count Two
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states:

          On or about January 6, 2021, within the District of Columbia and elsewhere,
          KENNETH JOSEPH OWEN THOMAS, and did, corruptly obstruct,
          influence, and impede an official proceeding, that is, a proceeding before
          Congress, specifically, Congress’s certification of the Electoral College vote
          as set out in the Twelfth Amendment of the Constitution of the United States
          and 3 U.S.C. §§ 15-18.

ECF No. 49 at 2.

          The defendant does not move to dismiss the Section 1512(c)(2) charge based upon an

allegation of statutory vagueness or that the congressional certification of the Electoral College

vote was not an “official proceeding” as required by the statute. The defendant instead moves to

dismiss Count Two of the Second Superseding Indictment based on the sole argument that the

indictment does not allege that the defendant took “some action with a respect to a document,

record, or other object in to corruputy obstruct, impede or influence an official proceeding.” ECF

No. 40 at1-2. This argument has been rejected by all but one judge of this Court who have

considered the issue in the context of January 6, 2021. And, in any event, even if a nexus to

documentary or tangible evidence were required, the allegattions in the Second Superseding

Indictment, which track the statutory language, adequately inform the defendant about the charge

against him; nothing more is required. See, e.g., United States v. Williamson, 903 F.3d 124, 130-

131 (D.C. Cir. 2018).

 II.      Section 1512(c)(2) Applies to the Conduct Alleged in the Indictment.

          The defendant’s primary argument rests upon Judge Nichols’ decision in United States v.

Miller, 589 F.Supp.3d 60 (D.D.C. 2022) and contends that the defendant’s conduct, like that of

Miller, fails to fit within the scope of conduct prohibited by § 1512(c)(2). But Miller was wrongly


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decided, 1 and § 1512(c)(2) is “not limited by subsection (c)(1) – which refers to ‘alter[ing],

destroy[ing], mutilat[ing] or conceal[ing] a record, document, or other object’ specifically.” See,

e.g., United States v. Robertson, --- F.Supp.3d ---, 2022 WL 2438546, *3 (D.D.C. July 5, 2022).

               A. Section 1512(c)(2)’s text, structure, and history confirm that its prohibition
                  covers obstructive conduct unrelated to documentary evidence.

       In Section 1512(c)(2), Congress prohibited conduct that intentionally and wrongfully

obstructs official proceedings. The ordinary meaning of “obstruct[], influence[], or impede[]”

encompasses a range of conduct designed to frustrate an official proceeding. That conduct can

include lying to a grand jury or in civil proceedings, exposing the identity of an undercover agent,

or burning a building to conceal the bodies of murder victims. It also includes storming the Capitol

to derail a congressional proceeding. A defendant who, acting with the necessary mens rea,

obstructs Congress’s certification of the Electoral College vote, commits a crime under Section

1512(c)(2).

                   1. Section 1512(c)’s text and structure confirm that Section 1512(c)(2) is not
                      limited to document-related obstructive conduct.

       Section 1512(c)(2)’s plain text demonstrates that it prohibits any corrupt conduct that

intentionally obstructs or impedes an official proceeding. When interpreting a statute, courts look

first to the statutory language, “giving the words used their ordinary meaning.” Lawson v. FMR

LLC, 571 U.S. 429, 440 (2014) (internal quotation marks omitted). If the statutory language is

plain and unambiguous, this Court’s “inquiry begins with the statutory text, and ends there as

well.” National Ass’n of Mfrs. v. Department of Defense, 138 S. Ct. 617, 631 (2018) (internal


1 The United States is pursuing an appeal from the ruling in Miller. That appeal, docket number
22-3041, is fully briefed and the Court of Appeals heard arguments on the matter on
December 12, 2022. As of this filing, the Court has not issued a decision.
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quotation marks omitted). Here, the meaning of “obstruct[], influence[], or impede[]” is controlled

by the ordinary meaning of those words.

       The verbs Congress selected in Section 1512(c)(2) are “noncontroversial.” Montgomery,

578 F.Supp.3d at 70. The words “obstruct” and “impede” naturally “refer to anything that ‘blocks,’

‘makes difficult,’ or ‘hinders.’”    Marinello v. United States, 138 S. Ct. 1101, 1106 (2018)

(brackets omitted) (citing dictionaries). Similarly, “influence” includes “affect[ing] the condition

of” or “hav[ing] an         effect   on.” Influence,     Oxford    English    Dictionary,    available

at http://www.oed.com. These verbs plainly apply to obstructive conduct that otherwise might not

fall within the definition of document or evidence destruction. See United States v. Burge, 711

F.3d 803, 809 (7th Cir. 2013). When read with Section 1512(c)(2)’s subject (“whoever”) and

object (“any official proceeding”), those verbs prohibit a defendant “from coming in the way of,

blocking, or holding up the business conducted by an official body, such as a court or the Congress,

when that body has formally convened for the purpose of conducting that business.” Montgomery,

578 F.Supp.3d at 70.

       Comparing the language in Section 1512(c)(1) to that in Section 1512(c)(2) confirms that

the latter, unlike the former, is not a document-focused provision. Section 1512(c) consists of two

provisions requiring the defendant to act “corruptly.” Both contain a string of verbs followed by

one or more direct objects. Section 1512(c)(1) applies to whoever corruptly “alters, destroys,

mutilates, or conceals a record, document, or other object . . . with the intent to impair the object’s

integrity or availability for use in an official proceeding.” The objects—“a record, document, or

other object”—are static. In contrast, Section 1512(c)(2) applies to whoever corruptly “obstructs,

influences, or impedes any official proceeding.” The object—“proceeding”—is dynamic, and the

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verbs that precede it are all intended to change the movement or course of that “proceeding.”

They are verbs that do not apply to a fixed “record” or “document” or an inanimate “object.” The

two sections are related through their connection to an official proceeding: Section 1512(c)(1)’s

verbs target forms of evidence tampering (e.g., altering, destroying, or mutilating) directed at the

documents, records, and objects that are used in official proceedings, while Section 1512(c)(2)’s

verbs take the proceeding itself as the object—thus prohibiting whatever conduct blocks or

interferes with that proceeding without regard to whether that conduct involved documentary or

tangible evidence.

       Importing into Section 1512(c)(2) a nexus-to-documents requirement would not only

require inserting an extratextual gloss, see Dean v. United States, 556 U.S. 568, 572 (2009) (courts

“ordinarily resist reading words or elements into a statute that do not appear on its face”) (internal

quotation marks omitted), it would also render the verbs in Section 1512(c)(2) inapt. The actus

reus that the verbs in Section 1512(c)(2) encompass is obstructing, influencing, and impeding. But

“[h]ow [could] anyone [] alter, destroy, mutilate or conceal an ‘official proceeding’ or how [could]

anyone [] ‘obstruct[], influence[], or impede[]’ ‘a record, document, or other object’?”

Montgomery, 578 F.Supp.3d at 75; accord Fitzsimons, 2022 WL 1698063, at *12; cf. Yates v.

United States, 574 U.S. 528, 551 (2015) (Alito, J., concurring) (rejecting interpretation of “tangible

object” in Section 1519 that would include a fish in part because of a mismatch between that

potential object and the statutory verbs: “How does one make a false entry in a fish?”); id. at 544

(plurality opinion) (“It would be unnatural, for example, to describe a killer’s act of wiping his

fingerprints from a gun as ‘falsifying’ the murder weapon.”). Such a mismatch is all the more

unlikely given how readily Congress could have drafted language that supplies a nexus to

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documents in Section 1512(c)(2). See Montgomery, 578 F.Supp.3d at 73 (Congress could have

enacted a prohibition that covers anyone who “‘engages in conduct that otherwise impairs the

integrity or availability of evidence or testimony for use in an official proceeding’”).

       The resemblance between the operative verbs in Section 1512(c)(2) and those Congress

enacted in two other obstruction provisions, 18 U.S.C. §§ 1503(a) and 1505, demonstrates that

Section 1512(c)(2) was designed to reach more than document-related obstructive conduct.

Congress drafted the “omnibus clause” in Section 1503(a), which prohibits “corruptly . . .

influenc[ing], obstruct[ing], or imped[ing] . . . the due administration of justice,” to serve as a

“catchall provision,” United States v. Aguilar, 515 U.S. 593, 599 (1995), that criminalizes

obstructive conduct that falls outside the narrower prohibitions within Section 1503(a) and

neighboring provisions. See, e.g., United States v. Sussman, 709 F.3d 155, 168-70 (3d Cir. 2013)

(removing gold coins from safe-deposit box); United States v. Frank, 354 F.3d 910, 916-19 (8th

Cir. 2004) (removing car to avoid seizure); United States v. Lefkowitz, 125 F.3d 608, 619-20 (8th

Cir. 1997) (instructing employee to remove documents from a house); United States v. Lester, 749

F.2d 1288, 1295 (9th Cir. 1984) (hiding a witness); United States v. Brown, 688 F.2d 596, 597-98

(9th Cir. 1982) (warning suspect about impending search warrant to prevent discovery of heroin).

Section 1505, which prohibits “corruptly . . . influenc[ing], obstruct[ing], or imped[ing] . . . the

due and proper administration of the law under which any pending proceeding is being had,” has

been construed to have a similar scope. See, e.g., United States v. Vastardis, 19 F. 4th 573, 587

(3d Cir. 2021) (manipulating an oil content meter to produce an inaccurate reading during a Coast

Guard inspection and making a related false statement). Like Section 1512(c)(2), Sections 1503(a)

and 1505 do not include “any limitation on the nature of the obstructive act other than that it must

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be committed ‘corruptly,’” which “gives rise to ‘a fair inference’ that ‘Congress intended [Section

1512(c)(2)] to have a [broad scope].’” McHugh, 2022 WL 1302880, at *10 (quoting Miller at 114).

       Consistent with the interpretation that obstructive behavior may violate Section 1512(c)(2)

even where the defendant does not “take[] some action with respect to a document,” Miller at 117,

courts of appeals have upheld convictions under Section 1512(c)(2) for defendants who attempted

to secure a false alibi witness while in jail for having stolen a vehicle, United States v. Petruk, 781

F.3d 438, 440, 447 (8th Cir. 2015); disclosed the identity of an undercover federal agent to thwart

a grand jury investigation, United States v. Phillips, 583 F.3d 1261, 1265 (10th Cir. 2009); lied in

written responses to civil interrogatory questions about past misconduct while a police officer,

Burge, 711 F.3d at 808-09; testified falsely before a grand jury, United States v. Carson, 560 F.3d

566, 584 (6th Cir. 2009); solicited information about a grand jury investigation from corrupt “local

police officers,” United States v. Volpendesto, 746 F.3d 273, 286 (7th Cir. 2014); and burned an

apartment to conceal the bodies of two murder victims, United States v. Cervantes, No. 16-10508,

2021 WL 2666684, at *6 (9th Cir. June 29, 2021) (unpublished); see also United States v.

Martinez, 862 F.3d 223, 238 (2d Cir. 2017) (police officer tipped off suspects before issuance or

execution of search warrants), vacated on other grounds, 139 S. Ct. 2772 (2019); United States v.

Ahrensfield, 698 F.3d 1310, 1324-26 (10th Cir. 2012) (law enforcement officer disclosed existence

of undercover investigation to target).

       Interpreted correctly, Section 1512(c)(2) applies to the defendant’s conduct, which

involved trespassing into the restricted Capitol area and interfering with law enforcement for the

purpose of stopping the certification. In so doing, the defendant hindered and delayed an “official

proceeding” before Congress. See 18 U.S.C. § 1515(a)(1)(B). Because construing Section

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1512(c)(2) to reach such conduct would neither “frustrate Congress’s clear intention” nor “yield

patent absurdity,” this Court’s “obligation is to apply the statute as Congress wrote it.” Hubbard

v. United States, 514 U.S. 695, 703 (1995) (internal quotation marks omitted).

                   2. Tools of Statutory Interpretation do not Support the Miller Court’s
                      Narrowed Interpretation.

       Other tools of statutory construction reinforce the conclusion that Section 1512(c)(2)

reaches conduct that obstructs or impedes an official proceeding in a manner other than through

document destruction or evidence tampering.

       Section 1512 is comprised of two parts: four subsections that define criminal offenses

(Sections 1512(a)-(d)), followed by six subsections that provide definitions and clarifications

(Sections 1512(e)-(j)). 2 Within the first part, three subsections (Sections 1512(a)-(c)) define

criminal offenses with statutory maxima of at least 20 years, see §§ 1512(a)(3), (b)(3), (c), while

Section 1512(d) carries a three-year statutory maximum, § 1512(d). Within that structure,

Congress sensibly placed Section 1512(c)(2) at the very end of the most serious—as measured by

statutory maximum sentences—obstruction offenses, precisely where a “catchall” for obstructive

conduct not covered by the more specific preceding provisions would be expected. In any event,

the “mousehole” canon provides that Congress “does not alter the fundamental details of a

regulatory scheme in vague terms or ancillary provisions,” Whitman v. American Trucking Assns.,

Inc., 531 U.S. 457, 468 (2001), but it “has no relevance” where, as here, the statute in question

was written in “broad terms,” Bostock v. Clayton County, Georgia, 140 S. Ct. 1731, 1753 (2020).

       The defendant’s interpretation injects a troubling type of superfluity. Construing Section


2 Section 1512 also includes one subsection, placed at the end, that adds a conspiracy offense
applicable to any of the substantive offenses set out in Sections 1512(a)-(d). 18 U.S.C. § 1512(k).
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1512(c)(2) to require some action with respect to a document risks rendering Section 1512(c)(2)

itself superfluous in light of the “broad ban on evidence-spoliation” in Section 1512(c)(1). Yates,

574 U.S. at 541 n.4 (plurality opinion) (internal quotation marks omitted); cf. United States v.

Poindexter, 951 F.2d 369, 385 (D.C. Cir. 1991) (explaining that limiting the catchall provision in

Section 1503(a)’s omnibus clause to obstructive acts “directed against individuals” would render

the omnibus clause superfluous because “earlier, specific[] prohibitions” in Section 1503(a)

“pretty well exhaust such possibilities”) (internal quotation marks omitted). The canon against

surplusage is “strongest when an interpretation would render superfluous another part of the same

statutory scheme.” Marx v. Gen. Revenue Corp., 568 U.S. 371, 386 (2013). It is even stronger here,

when it would render superfluous “other provisions in the same enactment”—namely, the

Sarbanes-Oxley Act. Freytag v. Comm’r, 501 U.S. 868, 877 (1991) (emphasis added; internal

quotation marks omitted). At a minimum, the canon does not militate in favor of the defendant’s

reading. See United States v. Ali, 718 F.3d 929, 938 (D.C. Cir. 2013) (canon against surplusage

“‘merely favors that interpretation which avoids surplusage,’ not the construction substituting one

instance of superfluous language for another”).

       Finally, an interpretation of Section 1512(c)(2) that imposes criminal liability only when

an individual takes direct action “with respect to a document, record, or other object” to obstruct

a qualifying proceeding leads to absurd results. See United States v. X-Citement Video, Inc., 513

U.S. 64, 69 (1994) (rejecting interpretation of a criminal statute that would “produce results that

were not merely odd, but positively absurd”). That interpretation would appear, for example, not

to encompass an individual who seeks to “obstruct[], influence[], or impede[]” a congressional

proceeding by explicitly stating that he intends to stop the legislators from performing their

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constitutional and statutory duties to certify the Electoral College vote results by dragging

lawmakers out of the Capitol and leading a mob to charge federal officers, pushing them aside to

break into the Capitol, unless he also picked up a “document or record” related to the proceeding

during that violent attack. The statutory text does not require such a counterintuitive result.

       In short, if Congress in Section 1512(c)(2) endeavored to create the narrow document-

focused provision that the Court envisioned, it “did a particularly poor job of drafting” because

Congress would have “effectuated [its] intent in a way that is singularly susceptible to

misinterpretation, as evidenced by the overwhelming majority of judges who have construed

§ 1512(c)(2) broadly.” McHugh, 2022 WL 1302880, at *11. In accordance with those judges, the

Court should reject the defendant’s atextual, narrowed interpretation.

                   3. Legislative history does not support the Miller Court’s narrowed
                      interpretation.

       Because “the statutory language provides a clear answer,” the construction of Section

1512(c)(2) “ends there,” and resort to legislative history is unnecessary. Hughes Aircraft Co. v.

Jacobson, 525 U.S. 432, 438 (1999). Regardless, the legislative history of Section 1512(c)(2)—

particularly when considered alongside the history of Section 1512 more generally—does not

support the defendants’ interpretation of Section 1512(c)(2) for two reasons.

       First, Section 1512(c) aimed at closing a “loophole” in Section 1512: the existing

prohibitions did not adequately cover a defendant’s personal obstructive conduct not aimed at

another person. See 148 Cong. Rec. S6550 (statement of Sen. Hatch). To close that loophole,

Section 1512(c)(1) criminalizes a defendant’s firsthand destruction of evidence (without having to

prove that the defendant induced another person to destroy evidence) in relation to an official

proceeding, and Section 1512(c)(2) criminalizes a defendant’s firsthand obstructive conduct that
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otherwise impedes or influences an official proceeding (though not necessarily through another

person). See Burge, 711 F.3d at 809-10. The defendants’ limiting construction undermines

Congress’s efforts at loophole closing.

       Second, no substantive inference is reasonably drawn from the fact that the title of Section

1512 does not precisely match the “broad proscription” it in fact contains, given that the Sarbanes-

Oxley Act unequivocally and broadly entitled the new provisions now codified in Section 1512(c),

“Tampering with a record or otherwise impeding an official proceeding.” Pub. L. No. 107-204, §

1102, 116 Stat. 807 (emphasis added; capitalization altered). Section 1512’s title is more limited

simply because Congress did not amend the pre-existing title when it added the two prohibitions

in Section 1512(c) in 2002. Cf. Brotherhood of R.R. Trainmen v. Baltimore & Ohio R.R. Co., 331

U.S. 519, 528-29 (1947) (describing “the wise rule that the title of a statute and the heading of a

section cannot limit the plain meaning of the text”).

       And while the legislators who enacted Section 1512(c) undoubtedly had document

shredding foremost in mind, “it is unlikely that Congress was concerned with only the type of

document destruction at issue in the Arthur Andersen case.” Montgomery, 578 F.Supp.3d at 77. In

other words, “there is no reason to believe that Congress intended to fix that problem only with

respect to ‘the availability or integrity of evidence.’” Id. In addition, if the defendants’ narrow

interpretation were correct, then certain floor statements, such as Senator Hatch’s description of

Section 1512(c)’s purpose to strengthen an obstruction offense “often used to prosecute document

shredding and other forms of obstruction of justice,” 148 Cong. Rec. S6550 (emphasis added),

“would be quite strange.” McHugh, 2022 WL 1302880, at *12.



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                B. Even if Section 1512(c)(2) required that the obstructive act relate to
                   documentary evidence, the defendant’s conduct would be covered.

        Neither ordinary methods of statutory construction nor the rule of lenity supports limiting

to Section 1512(c)(2) to document-based obstructive conduct. But even if Section 1512(c)(2) were

so limited, it necessarily reaches beyond the direct evidence tampering already covered by Section

1512(c)(1) to include alternative ways of interfering with the consideration of documentary

evidence—as happened here when the defendant impeded lawmakers’ consideration of documents

and records at the Electoral College vote certification proceeding.

        At a minimum, Section 1512(c)(2) covers conduct that prevents the examination of

documents, records, and other nontestimonial evidence in connection with an official proceeding.

Even assuming a focus on documentary evidence, the additional conduct that it would cover

beyond Section 1512(c)(1) would include, for example, corruptly blocking the vehicle carrying

the Electoral College vote certificates to the Capitol for congressional examination at the

certification proceeding, which would not “alter[], destroy[], mutilate[], or conceal[]” that

evidence under 1512(c)(1), but would plainly “obstruct[]” or “impede[]” the proceeding with

respect to that evidence under Section 1512(c)(2). For similar reasons, Section 1512(c)(2) would

likewise cover blocking a bus carrying lawmakers to the Capitol to examine the certificates at the

certification proceeding. And it just as readily covers displacing lawmakers from the House and

Senate Chambers, where they would examine and discuss those certificates and other records.

        The Electoral College vote certification is rooted in constitutional and federal statutory law

that requires the creation and consideration of various documents, and that certification operates

through a deliberate and legally prescribed assessment of ballots, lists, certificates, and, potentially,

written objections. Had the defendant sought to alter or destroy any of those documents, he would
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have violated Section 1512(c)(1). Here, the defendant allegedly sought to stop Members of

Congress from reviewing those constitutionally and statutorily mandated documents at a

proceeding to certify the results of the 2020 presidential election. Thus even if a violation of

Section 1512(c)(2) covered only obstructive behavior that prevents the consideration of

documents, records, or other objects at an official proceeding, the defendant’s alleged conduct—

corruptly obstructing and impeding the examination of physical or documentary evidence at a

congressional proceeding—states an offense.

                                       CONCLUSION

       For the foregoing reasons, the government respectfully submits that the Defendant’s

motion to dismiss Count Two of the Second Superseding Indictment should be denied.

                                            Respectfully submitted,

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